Case 3:11-CV-OOOOZ-WWE Document 1-1 Filed 01/03/11 Page 1 of 5

EXHIBIT A

 

"" Case 3:11-CV-`OOOOZ-WWE Document 1-1 Filed 01/03/11 Page»Z 0f5

Appendix V - Forms
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Centrah'zed Small Claims
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Toil Free in Connecticut (866) 383-5927 Local Hartford Area (360) 756-7800
Fax: {860) 756-7805 www.jud.cl.gov

 

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WORLD FiNANC|AL NETWORK NATIONAL BANK
4590 E BROAD ST
COLUMBUS, OH 43213~

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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l disagree with the claim because:
(Stete below Why you disagree Be brief but specific Ai trial you Will be able to explain your defense and submit

documentation

 

 

l admit l owe thé_claim but desire more time to pay for the following reasons:

(You may suggest a method of payment or a timetable for and amount of deferred payments.]
DO NOT SEND PAYMENT(S) TO THE COURT. Al.l_ PAYMENTS ARE TO BE lleDE DlRECTl.Y TO THE FOLLOWlNG:

SONiA ALESS|, 16 KNAPP STREET EASTON , CT 06612-, (646)285-4380

 

 

 

n My counterclaim isc (Check box and see instructions if you claim the plaintiff owes you money.)

'Signed Print Name and T/r/e o)‘ Person Sign)'ng ` :D`ate ;'>`igined" 7

Ado'ress (No.,Street, iowapr Cooe) Te/ephone Noi 1 'Jun's No.m l

( )

YOU DO NOT HAVE TO COME TO COURT ON THE ABO\/E DATE EXCEPT TO SUBMIT A WRlTTEN ANSWER lF YOU HAVE NOT
DONE SO BY THAT DATE. lt is not the date of trial if you have filed an answer contesting the claim the clerk will schedule a dale for the
trial and will send you a written notice of the date and time to come to court

2.. Fallure to file an answer by the answer date may result in a default judgment against you. ll the plaintirf(s) win the case and you fall to
pay the judgment the plaintifi{s) may try to collect the money owed by getting permission from the court to have money taken outvof your

wages financial accounts or other property

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For additional infomialion obtain a copy of THE SMAL!_ CLAlMS PROCESS (form JDP»CV.¢¥§) from the Cied<'s Ofiice or

visit our Websile at wi»v\»v.[ud,ct.Q;oir/i'og,v_’srnaliclar`ms.harrya

WHAT 00 l HAVE TO DO TO DEFEND TH!S CASE?` '

The first and most important step you must lake is to file en answer on or BEFORE THE ANSWER DATE. The answer is
your statement or reply to the claim stated on this notice Your reply should be brief but specihc. You do not need an
attorney even il the plaintiff has one. However, you can have an attorney if you want to hire one. ll you want the benth c
the regular rules or if you want the right to appeal this case, you must tile a motion to transfer the case to the regular civil ~
housing docket You may need an attorney to assist you and you will have to pay additional_fees when you tile the motior
transfer the case. The motion to transfer MUST be filed, in writing, with an affidavit and fees, ON OR BEFORE THE

ANSWER DATE.

WHAT SHOULD l 00 IF THE PLA!NTIFF OWES ME MONEY?
if you claim the plaintiff owes you money, this is a counterclaim Briefly state how much the plaintiff owes you and why

x

WHAT lF l KNOW l OWE THE PLAINTll-'F SOME MONEY? y ' y
Even if you think you owe the plaintiff something, but you disagree with the amount claimed or you are not sure how moot
you owe the plaintifl, you should file a written answer. This gives you a chance to come to court for a hearing to question

how the plaintiff arrived at the amount claimed

WHAT SHOULD l DO lF l ADMIT THAT l OWE THE PLA|NTIFF -THE ENT|RE AMOUNT CLA!MED?
if you pay the plaintiff/plainth attorney the total amount owed PLUS COURT COSTS, if any, before the answer dale. hot

the court, on the answer form, that payment has been made Do not send payment(s) to the court.

you must file an answer NOT LATER T'H

lt you are sure that you owe the entire amount claimed but you want time to pay,
tional time. You ma

THE ANSWER DATE, stating that you wish time to pay the debt and your reasons for requesting addi
also want to propose a payment schedule

WHAT HAPPENS WHEN l FlLE AN ANSWER? ' ~ .
.YOU 00 vl\l\'.)T HAVE TO GO TO COURT ON THE ANSWER DATE but you must make sure the Small Claims Clerlc
receives your written answer by that date After the court receives your answer, a hearing will be scheduled il required

WHAT HAPPENS lF l 00 NOT FlLE AN ANSWER? y
if you do not tile an answer, the court may enter judgment against you by default for the full amount of the claim plus coun

costs This is called a default judgment

WHERE AND WHEN DO l HAVE TO GO TG COURT? ‘
if a hearing is required, you will receive a notice of the date, time and court location of the hearith _.
"Even if you tiled an answer or a request for time to pay, the court can enter a judgment against you if you fall to come to

court on the date and time set for the hearing`.

wHAr musri entire To coun'r? s , '
On~ the day of the hearing, it is essential that you bring ali your witnesses and evidence (bil_ls, invoices _Ch@¢k$. €lF-l 10 CO
with'you. This includes any defective or damaged goods that can safely and conveniently be brouth w C°\m' est'"‘ate$ ‘

damages pictures, etc,

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